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                   10
                                                      UNITED STATES DISTRICT COURT
                   11
                                                   NORTHERN DISTRICT OF CALIFORNIA
                   12
                                Originating Case: In re: Frontier Commc'ns Corp., Case No. 20-22476-MG (Bankr.
                   13                                        S.D.N.Y.)
                   14       In re Subpoena to:
                                                                             Case No.: 3:24-mc-80005-TSH
                   15                                                        OPPOSED ADMINISTRATIVE MOTION
                            Reddit, Inc.                                     TO AUGMENT THE RECORD
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                                  OPPOSED ADMINISTRATIVE MOTION TO AUGMENT THE RECORD
                   21
                                  Movants Voltage Holdings, LLC; Screen Media Ventures, LLC; Killing Link Distribution,
                   22
                           LLC; Family of the Year Productions, LLC; and Laundry Films, Inc. move for leave to augment
                   23

                   24      the record to include attached Exhibits “A”, “B” and “C”. This Motion is pursuant to Civ L.R. 7-

                   25      11 and, to the extent applicable, Civ L.R. 72-3. Movants’ counsel Kerry Culpepper certifies that he

                   26      met and conferred with counsel for Reddit in a good faith effort to resolve this dispute but a
                   27      stipulation could not be obtained. See Decl. of Culpepper, ¶5.
                   28
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                            Case 3:24-mc-80005-TSH Document 27 Filed 02/14/24 Page 2 of 2




                       1   I. The specific action requested.

                       2           Movants request leave to augment the record with attached Exhibits “A”, “B” and “C”.
                       3
                           II. The reasons supporting the motion.
                       4
                                   Movants intend to file objections to the Feb. 7, 2024 Order denying their motion to compel
                       5
                           (“Order”). See Doc. #26. The Order cites a docket filing in the underlying case for the conclusion
                       6
                           that “…Frontier has indicated it will provide Movants with identifying information for those IP
                       7

                       8   addresses upon receipt of a subpoena.” Order, p.8. However, a few hours after the Order issued,

                       9   Frontier’s counsel demanded that Movants’ counsel withdraw the subpoena and expressed Frontier’s

                   10      intent to seek legal relief from the Cable Act Order. See Ex. “A”. Moreover, at least two Frontier
                   11      subscribers have filed objections to disclosure of their identifying information. See Exs. “B” and “C”.
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                           Accordingly, the attached exhibits go to the heart of the underpinning of the Order. Therefore, citation
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                           to these exhibits is necessary for Movants’ forthcoming Objections. Because these exhibits were
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                           obtained after the date of the Order and briefing on the motion to compel was completed, Movants
                   15
                           could not have brought this information to the attention of the Court prior to the date of the Order.
                   16
                           III. Conclusion.
                   17

                   18              For the reasons set forth herein, Movants respectfully requests that the Court grant them

                   19      leave to augment the record with attached Exs. “A”, “B” and “C”.
                   20              DATED:          Kailua-Kona, Hawaii, Feb. 14, 2024.
                   21

                   22                                                      Respectfully submitted,

                   23                                                      CULPEPPER IP, LLLC

                   24
                                                                           /s/ Kerry S. Culpepper
                   25                                                      Kerry S. Culpepper, pro hac vice
                                                                           Attorney for Movants
                   26

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